Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 1 of 58

UNITED STATES DISTRICT COURT
FOR THE
SOUTHERN DISTRICT OF TEXAS

IN RE:
MISC. ACTION NO. H-10-0361

6G tOn 6G

HAROLD V. DUTTON, SR.
ORDER

Attorney Harold V. Dutton, Jr., having filed an appeal of the recommendation by the
Attorney Admissions Committee that his application for readmission to practice before the
United States District Court for the Southern District of Texas should be denied, a hearing on
said appeal having been held by United States District Judge Kenneth M. Hoyt, and the Court,
thereafter in Executive Session, having considered said appeal,

IT IS HEREBY ORDERED that the application of Attorney Harold V. Dutton, Jr., for
readmission to practice before the United States District Court for the Southern District of Texas

) AA in

Signed on this.2 Mbtay of Lhty 2011.
RICARDO H. HINOJOSA f

CHIEF JUDGE

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 2 of 58

UNITED STATES DisTRi¢cT Court
SOUTHERN DISTRICT of TEXAS
Uaurzo STATES COURTHOUSE
HOUSTON, TEXAS 77002

CHAMBERS OF
KENNETH M. Hoyt

January 11, 2011

The Honorable Ricardo H. Hinojosa
Chief Judge

United States District Court

Post Office Box 5007

McAllen, TX 78502-5007

RE: IN RE: HAROLD V. DUTTON, JR. [MISC. ACTION, NO. H-10-0361]
Sir

Since my Memorandum and Recommendation to you dated J anuary 6, 2011, concerning the 2002
tenewal application of Attorney Harold V. Dutton, Jr., [have been provided with updated materials
concerning hits status with the State Bar of Texas. Unfortunately, this information was not provided
to me when the matter was assigned and I only received it on yesterday, January 10, at the close of
the day. I am unsure how this and other failures to complete these files can be avoided except
through better management of information.

Nevertheless, it is clear to me that the basis for my Memorandum has become invalid due to the fact
that Mr. Dutton received a public reprimand in 2005. I, therefore, withdraw my recommendation

and, consequently, recommend that the Attorney Admission Committee’s recommendation be
Sustained,

Sincerely,
(ravi Dy 3

Kenneth M. Hoyt
United States District Judge

Enclosure

 
 

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Status

7/6/09

7/8/09

7/9/09

Received a call from Mr. Dutton as to why his membership had expired. Told
him I would pull his file and ascertain why his membership had not been renewed.

Review of admissions file indicates that Dutton sent in a Renewal Questionnaire
in January 2002 to which was attached a Findings of Fact and Conclusions of Law
and Agreed Judgment of Private Reprimand. His Renewal was referred to Judge
Lake who referred it to the Admissions Committee. The Admissions Committee
recommended denial of the Renewal and Judge Lake concurred with the
Committee’s recommendation. Mr. Dutton was notified by letter dated September
26, 2002 that his admission was denied and he had a right to request a hearing
before Chief Judge Kazen to show cause why his Renewal was denied. There is
no indication in the file that a request for a hearing was ever made by Mr, Dutton,
Upon the completion of my review, I called Dutton to explain what I had learned,
As he was not in, I left him a detailed voice message.

Received a call from Dutton in response to my voice message, He informed me
that the address the 9/26/02 letter was sent to was one that he hadn’t been at in a
number of years. The database shows Dutton’s current address. It is unclear
where Martha Welu (author of the letter) obtained the addressed that was used.
Dutton asked what he could do about the situation and I explained that Judge
Kazen was no longer Chief Judge, that he would have to make his request to
Judge Head who was now Chief Judge. I faxed him a copy of the 9/26/2002 letter
and told him he should explain in his request for hearing that he never received
the denial letter from our office and that was the reason for his delay in requesting
a hearing and that he was now requesting a hearing.

6/23/10 - NOTE: Further review of this file shows that Mr. Dutton was suspended by the State
Bar of Texas in 2005 and DID NOT disclose this information to us.

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 4 of 58
FIND A LAWYER

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{ Back to Search Results }

 

OVERVIEW CONTACT AND MAP

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i a ee espascdl

My, Harold V, Dutton Jr,

Bar Card Numnbew 06293050

Work Address: 2323 Caroline St Ste 1000
Houston, TX 77004

Work Phone Number 713-699-5998

Pulmary Practice Location: HOUSTON , 'fexas

Current Member Status
Eligible To Practices In Texaa

Ty cooperation with

http://www.texasbar,com/AM/Tomplate. cfm?Section=Find_A_Lawyer&template=/Customs... 1/7/2011

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD

Page 5 of 58

LICHNSS INFORMATION

Bar Card Numbers 06293050

Texas Licanse Date: 11/04/1991

PRACTICE INFORMATION

Firma Law Office of Harold V. Dutton, Jr.

Tpm Size; Solo

Occupation: : Private Law Practice

Practice Aveas; Administrative and Public, Cehninal, Labor-
Employment, Litigation: Personal Injury, Wills-Tvusts-
Probate

Services Provided Langtiage translations Yes

Hearing impaired translation: Not Specified
ADA-accessible cliant service: Yas

brag sasiS pslltonsawarrandipatiny kind, express ov implied, Neither the State Bur of Texas,
nor its Board of Directors, nov any employee thereof may be held responsible for the aceuracy of
the data, Much of the tnformation has been provided by the attorney and ts required ta be
reviewed and updated by the attorney annually, The information noted with an asterisk {is
Paves Hey tate Bar of Texas. Texas grlevance/disciplinary information will not appear on
the profile ay a final determination is reached, Access to this site ts authorized for public use
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nol constitute a certified lawyer referral service,

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Texas Southern University 08/1991 durisprudence/Juris
’ Doster GD.)
PUBLIC DISCIPLINARY HISTORY
State of Texas*
Sanction Date Probatlon Date
Sanction. Date of Entry Start « Bad Start - End
Py & 12/01/2008 -
Fully Prabated Suspension 11/09/2005 11/90/2006

NOTE: Only Texas disciplinary sanctions within the bast 10 years aredisplayed. Yor sanction
information beyond 10 years, information about a Sspee(fle disciplinary sanetion listed above or
fo request a copy of a disciplinary judgement, please contact the Office of the Chief Disciplinary
Counsel at (877) 963-8598. There is a $1g.00 fee for cceh cisolplinary judgment eopled,

Other States

Sanction State Sanction Date

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None Reported By Attornay

Statutory Profile Last Certified Ont 10/ ig/2010

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Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 6 of 58
Case 4:10-mc-00361 *SEALED* Document 4 _ Filed in TXSD on 01/06/11 Page 1 of 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

IN RE: §

3

$

§ MISC, ACTION NO, H-10-0361
HAROLD V. DUTTON, JR. §

§

§

§

MEMORANDUM AND RECOMMENDATION
I.

This matter was randomly assigned to the undersigned on September 15, 2010,
pursuant to an Order issued by Chief Judge Ricardo H. Hinojosa, Having reviewed the
file and its contents, the undersigned is of the opinion that the Attorney Admissions
Committee’s (“SAAC”) recommendation and Judge Sim Lake’s Decision on Admission,
denying admission, should be set aside and the petitioner reinstated to practice in the
Southern District of Texas (“SDTx”); or alternatively, submitted to the full Court for a
vote.

II.

The petitioner, Harold V. Dutton, Jr., was first admitted to practice in the federal
court of the SDTx on March 20, 1992. He filed a renewal application on January 31,
1997, and forwarded a change of address on August 7, 1998. The Court’s records do not
reflect an action taken on the 1997 application. Nevertheless, on January 14, 2002, a
renewal application was presented to the Court. The petitioner’s 2002 renewal
application indicated that the petitioner’s license to practice law with the State Bar of

Texas was in good standing. However, the attachment to the renewal application
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 7 of 58
Case 4:10-mc-00361 *SEALED* Document 4 Filed in TXSD on 01/06/11 Page 2 of 4

disclosed that the petitioner had agreed to a Judgment of Private Reprimand with the
Grievance Committee of the State Bar of Texas in 1999, three years earlier.
I.

The presiding judge, Judge Sim Lake, received the petitioner’s application and on
February 21, 2002, observed that the petitioner had disclosed a disciplinary action.
Therefore, he and referred the matter to the AAC for its evaluation, On April 22, the
petitioner was notified by the Court that a current Certificate of Good Standing from the
State Bar of Texas was required. That Certificate was forwarded to the Court on May 8,
by the petitioner. The petitioner’s application with attachment was forwarded to the
AAC on May 24, 2002. On September 11, 2002, the unanimous decision of the AAC,
recommending denial of the application, was returned. On September 26, the Court
forwarded a letter to the petitioner informing him that his application to practice in the
SDTx had been denied. However, the notice was forwarded to the petitioner’s previous
address at 1010 Lamar Street, Houston, Texas instead of his current address at 2323
Caroline, Houston, Texas, in spite of the fact that the Court had at all times
communicated with the petitioner at his Caroline address. Therefore, the petitioner did
not receive the Court’s notice that his application had been denied and that he might seek
a hearing and show cause why the application should, nevertheless, be granted.

The matter laid fallow until July 9, 2009, when the petitioner was notified by the
Court that his 2002 application to practice law in the SDTx had been denied on
September 26, 2002, In the interim, the petitioner had continued to practice before the

Court without incident. The petitioner, recognizing that over seven (7) years had elapsed

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 8 of 58
Case 4:10-mc-00361 *SEALED* Document 4 Filedin TXSD on 01/06/11 Page 3 of 4

since his application, nevertheless, requested a hearing on the denial of his application.
That hearing was provided on October 14, 2010.
IV.

The Court’s current Rules of Discipline, effective June 19, 2007, primarily
address the issues of whether an attorney should be removed or otherwise disciplined
where: (a) he/she does not meet the minimum standard(s) of practice as it relates to
Texas Disciplinary Rules of Professional Conduct, (b) he/she has been convicted of a
crime involving moral turpitude; (c) he/she has been disciplined by another court and
fails to notify the SDTx; (d) he/she has been disbarred, suspended or resigned from
another court; and, (e) he/she engages in conduct that might warrant disciplinary action.

V.

After conducting a hearing in this matter, the undersigned is of the opinion that
the petitioner’s application should not have been denied in 2002. The undersigned
recognizes that it is within the discretion of the Court to permit or not attorneys to
practice before it. However, the Court’s Rules then and now do not address the
parameters of judicial discretion. Nor do they address the issue of the term of a denial of
an application. It is noteworthy that at the time, the petitioner was in good standing with
the State Bar of Texas. As well, more than three (3) years had elapsed since the
reprimand. And otherwise, the petitioner’s record was clear of reprimands and sanctions,
The undersigned is of the opinion that since more than eight years has clapsed since the
denial, and assuming that the petitioner is in good standing with the State Bar of Texas at

this time and has suffered no additional reprimands or sanctions, the Chief Judge should

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 9 of 58
Case 4:10-mc-00361 *SEALED* Document4 Filed in TXSD on 01/06/11 Page 4 of 4

approve a renewal application in his behalf; alternatively, the matter should be presented
to the full Court for discussion and vote.
Respectfully submitted,

SIGNED at Houston, Texas this 6h day of January, 2011.

lier. Ly oa

Kenneth M. Hoyt
United States District Judge

 

 
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4889 Document2 Filed on 06/22/11 in TXSD Page 10 of 58
istrict Court-Texas Southern Page 1 of I

Hrng re: Appl. f£/Reinstatement
10/14/10 at 8:00 AM

US. District Court
SOUTHERN DISTRICT OF TEXAS (Houston)
CIVIL DOCKET FOR CASE #: 4:10-mc-00361 *SEALED*

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Internal Use Only
In Re: Harold V. Dutton, Jr Date Filed: 08/27/2010
Assigned to: Judge Kenneth M. Hoyt
In Re
Harold V Dutton, Jr. represented by Harold V Dutton, Jr.

Law Office of Harold Dutton, Jr.
2323 Caroline

Suite 1000

Houston, TX 77004
713-659-5998

Fax: 713-659-2812

PRO SE

 

Date Filed # | Docket Text

08/27/2010 |<81 | ORDER (Signed by Chief Judge Ricardo H. Hinojosa) Parties
notified. (ccassady) (Entered: 08/27/2010)

09/15/2010 |%82 | ORDER Miscellaneous Hearing set for 10/14/2010 at 08:00 AM
at Courtroom 11A before Judge Kenneth M. Hoyt.(Signed by
Judge Kenneth M. Hoyt) Parties notified.(dpalacios, )} (Entered:
09/15/2010)

 

 

 

 

 

 

 

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Case 4:00-mc-54889 Document 2 Filed on 06/22/ttin TXSD_ Page tiv? ee

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

IN RE: } . .
) misc. No. JO ~All
)

HAROLD V. DUTTON, UR.

ORDER

 

Before the Court is the Renewal Request for Admission to
Practice of Harold V. Dutton, Jr. (hereinafter “Dutton”), and after
review of the matters in the above-referenced case, the undersigned
is of the opinion that the case should be randomly assigned to a
District Judge for the Houston Division of this Court for hearing.

Rule 83.1 of the Local Rules for the Southern District of
Texas addresses admission to practice before the Court. Under said
Rule, an attorney is required to reapply for membership every five
years. Rule 83.1.E, specifically provides that if, after review
of the application, the Court denies admission, the person not
admitted may request a hearing conducted under the procedures set
out by the Rules of Discipline for the Southern District of Texas.
Pursuant to Rule 83.1.D., the Court has appointed a Committee on
Admissions to assist in the review of attorney admissions matters.

In the initial review of Dutton’s renewal application, the
Committee on Admissions recommended denial of renewal and, after
considering the recommendation of the Committee, Judge Sim Lake
concurred with the Committee’s recommendation. Dutton has the
opportunity to request a hearing pursuant to Rule 83.1.E., and he

has requested such a hearing.

 

 

 
 

 

Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 12 of 58

Pursuant to Rules 5 and 10 of the Rules of Discipline for the
Southern District of Texas, the undersigned hereby directs the
Clerk of the Court to randomly assign this matter to a District
Judge of the Houston Division for a hearing and any further
necessary action upon the request for renewal consistent with the
Rules of Discipline for this District, Upon assignment by the
Clerk, the randomly selected District Judge may proceed with any
action on the renewal application of Dutton as is consistent with
the Local Rules and Rules of Discipline for the Southern District

of Texas.

DONE on the 2s day of August, 2010, at McAllen, Texas.

4 tt Lee

Ricardo H, Hinojose/
CHIEF U.S. DISTRICT JUDGE

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 13 of 58

 

 

Lo: Ricardo Hinojosa/TXSD/O5/USCOURTS,

Ce: Hortencla Rios/TXSD/05/USCOURTS, ,

Boot C _ we

Subject Attorney Discipline _ ile IO re
Judge Hinojosa:

Mr. Dutton has requested a hearing on the denial of his renewal application in the Southern
District.
Background information regarding Mr. Dutton follows:

March 1992 Mr, Dutton was admitted to practice in the Southern District of Texas,

August 1999 Mr. Dutton accepts the attached Agreed Judgment of Private Reprimand
from the State Bar of Texas for professional misconduct.

March 2002 Mr. Dutton applies for renewal and encloses disciplinary action (attached),
Renewal is forwarded to Attorney Admissions Committee for review.

Sept.2002 Attorney Admissions Committee recommends denial of membership
renewal, Judge Lake concurs with Committee,

Letter to Mr. Dutton advising that his renewal was denied and that he had
the right to request a hearing from the Chief Judge. Apparently this
letter was sent to the wrong address and was never received by Mr.
Dutton.

July 2009 Mr. Dutton calls the Court to ascertain why his membership is not active.

Mr. Dutton sends letter to Judge Head requesting hearing on his denial
(attached).

A hearing Judge needs to be appointed to review Mr, Dutton’s denial of membership, Attached
is a proposed Order of Appointment.

Please let me know if you need any additional information.

  
 

Claire Cassady

Attorney Admissions Liaison
United States District Court
575 Rusk Street, Room 5401
Houston, TX 77002
713/250-5979

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Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 14 of 58

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\. Hawkins/TXSD/05/USCOURT
* 4 $s ce
BUrNee UT CreT TY’ bee

07/15/2009 11:55 AM
Subject Attorney Harold V. Dutton

Hi Judy:

Attached is a letter and other info on this attorney. His renewal was denied and he's requesting a hearing.
Let me know if Judge Head wants me to email other copies of his file.

     

Lir requesting hearing.pdf chron Memo.wpd Status Memo.wpd

Rhonda

Rhonda Hawkins

Administrative Specialist

Executive Office of U.S. District Clerk

515 Rusk Street, Room 5401

Houston, TX 77002

713/250-5979

"Success has a thousand fathers, but failure is an orphan."

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 15 of 58

Status

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Received a call from Mr. Dutton as to why his membership had expired. Told
him I would pull his file and ascertain why his membership had not been renewed.

Review of admissions file indicates that Dutton sent in a Renewal Questionnaire
in January 2002 to which was attached a Findings of Fact and Conclusions of Law
and Agreed Judgment of Private Reprimand. His Renewal was referred to Judge
Lake who referred it to the Admissions Committee. The Admissions Committee
recommended denial of the Renewal and Judge Lake concurred with the
Committee’s recommendation. Mr. Dutton was notified by letter dated September
26, 2002 that his admission was denied and he had a right to request a hearing
before Chief Judge Kazen to show cause why his Renewal was denied. There is
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Upon the completion of my review, I called Dutton to explain what I had learned.
As he was not in, I left him a detailed voice message.

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where Martha Welu (author of the letter) obtained the addressed that was used.
Dutton asked what he could do about the situation and I explained that Judge
Kazen was no longer Chief Judge, that he would have to make his request to
Judge Head who was now Chief Judge. I faxed him a copy of the 9/26/2002 letter
and told him he should explain in his request for hearing that he never received
the denial letter from our office and that was the reason for his delay in requesting
a hearing and that he was now requesting a hearing.

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 16 of 58

Law Office of
HAROLD V. DUTTON, JR.

Attorney At Law
1000 The Houston Buiiding
2323 Caroline
Houston, Texas 77004

HAROLD V. DUTTON, JR. , (713) 659-5998/Telephone
‘ (713) 659-2812/Facsimile

Member, Texas House of Representatives

July 9, 2009

Honorable Judge Hayden Head
United States District Court
515 Rusk, Rm. 5401

Houston, Texas 77002

Re: Denial of Admission—-Harold V. Dutton, Jr.
Dear Chief Judge Head:

Sometime in 2002, I applied for renewal of my application for Admission to Practice in
the United States District Court, Southern District of Texas. Although I continued to
practice in the Southern District courts, I was just advised today by fax that a letter dated
September 26, 2002, was alleged to have been sent to me denying my renewal
application. Quite frankly, the letter was apparently was sent to an incorrect address and I
never received such letter. The address on the letter was a former office address that had
been vacated almost three or four years before my renewal application was tendered. On
my renewal application, I listed the correct address on the application and since that time
| have received other mail from “1e Southern District mail at my correct address.

The September 26 letter indicated that I could request a hearing on the denial of the
application for Admission to Practice. I realize it has been close to seven years but I

would respectfully request a hearing on the denial of renewal application.

If there are other questions, please contact the undersigned.

 

 
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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS
P.O. BOX 61010
HOUSTON, TEXAS 77208

MICHAEL N. MILBY _ WW.IXS.USCOUITS, JOv
CLERK OF COURT - 713-260-5371

September 26, 2002

Harold V. Dutton, Jr.

Law Office of Harold V Dutton, Jr.
1010 Lamar, Suite 1300

Houston, TX. 77002

Dear Mr, Dutton:

In accordance with Local Rule 83.1, your application for Admission to Practice in the United
States District Court, Southern District of Texas has been denied.

You may request a hearing to show why this application was not granted. The hearing will be
conducted under the procedures for disciplinary matters. This request should be made in letter
form to Chief Judge George P. Kazen and it should be sent to the U. S: District Court, Houston
Division to the attention of the Attorney Admission Office. They wil! promptly forward your letter
with a copy of your file to Chief Judge George P. Kazen.

MICHAEL N. MILBY, Clerk

Martha Welu
Operations Manager

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 18 of 58

MEMORY TRANSMISSION REPORT

TIME : 2009-JUL-09 03:11PM
TEL NUMBER : 713~250-5014
NAME : U § DISTRICT COURT
FILE NUMBER #20
DATE JUL-09 03: FOPM
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START TIME JUL-09 03:10PM
END TIME JUL-09 03:11PM
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FILE NUMBER > 820 *#:: SUCCESSFUL TX NOTICE «x
UNITED STATES DISTRICT couURT
SOUTHERN DISTRICT OF TEXAS
PLO, BOX 61010
HOUSTON, TEXAS 77208
MICHAEL NL MILEY MW ENS Us OC OUIMS.gaoy
CLERK OF COURT 713-250-5371
September 26, 2002
Harold V. Dutton, Jr. a o
Law Office of Harold V Mutton, Jr.
1016 Lamar, Suite i300
Houston, TX. 77002 : a“

Dear Mr. Dutran:

In accordance with Local Rule 83.1, your application for Admission to Practice in the United
States District Court, Southern District of Texas has been denied.

‘You may request a hearing to show why this application was not granted. The hearing will be
conducted under the procedures for disciplinary matters. This request should be made in letter
form to Chief ludge George P. Kazen and it should be sent to the LJ, 3: District Court, Houston
Division to the attention ofthe Attommey Admission Office. They will promptly forward your letter
with a copy of your file to Chief Judge George P. Kazen.

MICHAEL NW. MILB Y, Clerk

Martha Welu

Operations Manager

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 19 of 58

United States District Court
Southern District of Texas

COMMITTEE ON ADMISSIONS RECOMMENDATION

APPLICANT: Harold V. Dutton, Jr.

 

Referred to Committee on Admissions on February 20, 2002 by Sim Lake.
Date Judge

 

Recommendation of Committee

Recommend denial, based on the unanimous response of the members.
Recommendation

Decision on Admission
QO §=©Admission GRANTED &/ Admission DENIED

Remarks:

 

 

 

Signed this /& th day of September, 2002

SIM VAKE

United States District Judge

 
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EPSTEIN BECKER GREEN WickLirr & HALL, P.c.

ATTORNEYS AT LAW

WELLS FARGO PLAZA
1000 LOUISIANA, SUE 5400
HOUSTON, TEXAS 77002-8013
713.750.3100
FAX: 7135.750,3101
EBGLAW.COM

Dikeer
FtB-7EGSL77
ASADBEARY@EROLaW.cOM

September 11, 2002

Via Fax: 713-250-5441

Ms. Martha Welu
Operations Manager
United States District Court
P.O. Box 61010

Houston, Texas 77208°

Re: Harold V. Dutton, Jr— Attomey Admissions Committee, United States Court for
the Southern District of Texas

Dear Ms. Welu:

The Committes’s response to Harold Dutton’s application is to recommend denial, based
on the unanimous response of the members.

Anthony J. 8 berry

f

AJS:sdg
ce: Via Fax: 361-883-05006 Via Fax; 713-632-8002
Richard 'W. Crews R. Paul Yetter
Via Fax: 956-783-0998 Via Fax: 713-615-5400
Oscar Vega D. Gibson Walton
HO:2630.1 ATLANTA # HOSTON + GHIGAGO +» DALLAS + HOUSTON + LOS ANGELES

NEWARK * NEW YORK ' SAN FRANCISCO « STAMFORO « WASHINGTON, @.C,

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 21 of 58

  

UNITED STATES DISTRICT COURT

MICHAEL N. MILBY
CLERK OF COURT

Anthony Sadberry

Wickliff & Hall

Wells Fargo Plaza

1000 Louisiana, Suite 5400
Houston, Texas 77002-5013

Richard W. Crews

Brin & Brin

1202 Third Street

Corpus Christi, Texas 78404

Oscar Vega
1401 W. Polk Avenue
Pharr, Texas 78577

RE: Harold V. Dutton, Jr.

SOUTHERN DISTRICT OF TEXAS

P.G. BOX 61010
HOUSTON, TEXAS 77208
www.txs.uscourts.gov
713-250-5371

May 24, 2002

R. Paul Yetter

Yetter and Warden
600 Travis, Suite 3800
Houston, Texas 77002

D. Gibson Walton

Vinson & Elkins

1001 Fannin, Suite 2300
Houston, Texas 77002-6760

Dear Committee on Admissions Member:

Enclosed is a packet that includes a copy of the referral to the Committee on Admissions signed
by Judge Sim Lake, Renewal Application to Practice with attachments, dated January 14, 2002,
initial Application to Practice, Renewal Application dated January 31, 1997 and a Certificate of
Good Standing from the State Bar of Texas.

IfT can be of any assistance or if you need any further information, please feel free to call me.

Enclosures

MICHAEL N. MILBY, Clerk

Vache hes

Martha Welu
Operations Manager

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 22 of 58

Attorney Admissions
Cover Sheet for Judicial Review

“APPLICANT: NAR p i/ duro, TR. |

C Lives out of this district.
Cl Requesis 4 waiver of the admissions workshop requirement.
C_ Requesis permission to substitute a nonresident attorney reference.

C! Requests that the application be a renewal of membersnip.

. Membersnic Expired Last Address Update

( Discloses a disciotinary action.

Co oOther |

 

 

Remerks:

 

References are:
Ciresident members U1 non-resident members

 

 

CJ non-members - membership hes been verified with the District af
Remarks:
REPLY
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Remarks:

 

 

 

 

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 23 of 58

STATE BAR OF TEXAS

 

 

Office of The Chief Disciplinary Counsel

May 7, 2002

Re: HAROLD V. DUTTON JR,;
State Bar Number- 06293050

To Whom It May Concern:

This is to certify that HAROLD V, DUTTON JR. was licensed to practice law in Texas on
November 1, 1991 and is an active member in good standing with the State Bar of Texas.

"Good standing" means that the attorney is current on payment of Bar dues and
attorney occupation tax; has met Minimum Continuing Legal Education requirements, and
is not presently under either administrative or disciplinary suspension,

No disciplinary action involving professional misconduct has been taken against the
attorney's law license. This certification expires 30 days from this date, unless sooner revoked
or rendered invalid by operation of rule or law.

Dawn Miller
Chief Disciplinary Counsel

DM/dtt

 

P.O. Box 12487, Capitol Station, Austin, Texas 78711-2487, (512)463-1463

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 24 of 58

 

UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF TEXAS

 

 

SDTX AA-2 [01/00]

RENEWAL QUESTIONNAIRE FOR ADMISSION TO PRACTICE

name TOW Vi Dalen, YZ
rim Low Direc Vowel AV. Dalla, wy
rimAdares: 2323 Cavolwe
Houston Vx 704
comy: WaYYS Cooly Texas
Business Telephone: 27 3- G5G- F494

Business Facsimile: Lt a— 6549 — ABIZ

’ State Bar of Texas Number: OEZF350 vO

Board Certifications: Nowe _

If after your admission to the bar of this court you have been (a) disciplined by a
bar or a court or (b) charged with or convicted of a serious crime as defined in
Rule 2.A. of the Rules of Discipline, on a separate page please describe in full and

attach a certified copy of the final action.

  

ate Ad hs Applicant v

   

 
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BEFORE THE GRIEVANCE COMMITTEE FOR STATE BAR
DISTRICT NO. O4E, THE STATE BAR OF TEXAS

COMPLAINT AGAINST x
x
HAROLD V. DUTTON, OR. x NO. HO0O59818327
x
HOUSTON, TEXAS x
REED E VATE REP

A complaint was docketed by the Grievance Committee for State
Bar District No. 04E, State Bar of Texas, against HAROLD V. DUTTON,
JR., Texas Bar Number 06293050, (hereinafter called "Respondent")
a licensed attorney and member of the STATE BAR oF TEXAS, residing or
maintaining an office in Houston, Harris County, Texas, by
Wilhemina L. Williams, as Complainant, alleging certain acts of
professional misconduct on the part of the Respondent which
occurred in Harris County, Texas.

The Grievance Committee and the Respondent lawyer have signed
Findings of Facts and Conclusions of Law on file herein, and said
findings and conclusions support a Judgment of Private Reprimand
herein, and by reasons of said findings and conclusions the
Committee is of the opinion that Respondent is guilty of
professional misconduct and should be reprimanded.

It is AGREED and ORDERED that Respondent shall pay ‘Two

Thousand Three Hundred Thirty Four Dollars and Fifty Cents

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 26 of 58

($2,334.50)in restitution to Wilhemina Williams on or before August
31, 1999. For monitoring purposes, this restitution should be made
payable to Wilhemina Williams and should be mailed to the attention
of Tammye S. Curtis Jones, Office of the General Counsel, State Bar
of Texas, 1111 Fannin, Suite 1370, Houston; Texas, 77002. This
payment should be made via certified or cashier's check.

It is further AGREED and ORDERED that Respondent shall pay One
Thousand and No/100 Dollars ($1000.00) in attorneys’ fees to the
State Bar of Texas on or before August 31, 1999. This payment
should be mailed to Tammye S. Curtis-Jones, Office of the General
Counsel, State Bar of Texas, 1111 Fannin,. Suite 1370, Houston,
Texas, 77002. This payment should be made via certified or
cashier’s check.

All attorneys’ fees, costs, and restitution amounts ordered
herein are due to the misconduct of the attorney and are assessed
aS a part of the sanction in accordance with Rule 1.06(t) of the
Texas Rules of Disciplinary Procedure. Interest shall accrue on
the attorneys’ fees and court costs from the date the attorneys’
fees and court costs are due at the rate of ten percent (10%) per

annum until paid.

Agreed Judgment of Private Reprimand
HO059819327 Williams - Dutton
G:\2DUTT327.JUD Page 2

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 27 of 58

Respondent consents to the rendition and entry of this
Judgment and having his acknowledgment to the Findings of Fact and
_ Conclusions of Law taken in accordance with the provision of the
STATE BAR RULES.

This reprimand shall remain confidential as to the identity
of the reprimanded attorney except that, in accordance with the
TEXAS RULES OF DISCIPLINARY PROCEDURE copies of this reprimand shall be
forwarded to the General Counsel of the STATE BAR OF TEXAS.

Respondent further AGREES that this Judgment may be made
public for purposes of enforcement or contempt should Respondent
fail or refuse to comply with any terms or conditions as stated

herein.
We

: - A, i . Cf .
SIGNED this te e day of Lint st , 19-757,
a "LA

GRIEVANCE COMMITTEE
DISTRICT NO. 04E

 

Chairperson

Agreed Judgment of Private Reprimand
HOO58818327 Williams - Dutton
G:;\2DUTT327.gUD Page 3

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 28 of 58

 

In connection with the charges of professional misconduct
filed against me and heard by your Committee, I hereby consent to
entry of Judgment.

SIGNED this On day of ss 19.4
\ —

 

NI
State Bar No.062533050

STATE OF TEXAS x

x
COUNTY OF a ONS x

BEFORE ME, the undersigned, a Notary Public in and for said
County and State, on this day personally appeared HAROLD V. DUTTON,
UR., known to me to be the person whose name is subscribed to the
foregoing instrument, and being by me first duly sworn,
acknowledged to me that the same was executed for the purposes and
considerations therein expressed.

A. GIVEN UNDER my hand and seal of office this ae, day of
ays , 19_ QQ

c {
Be Rte AM). J GFhiner
Notary Public in and for
the State of Texas

ALE [IB ROC bod | Ze {\ Obie D. arngun

My cémmisdion Expires Printed Name of Notary

Agreed Judgment of Private Reprimand
HO059818327 Williams - Dutton
G@:\2DUTT327..JUD Page 4

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 29 of 58

BEFORE THE GRIEVANCE COMMITTEE FOR THE STATE BAR
DISTRICT NO.04E, THE STATE BAR OF TEXAS

COMPLAINT AGAINST

HAROLD V. DUTTON, UR. NO. H0059818327

Paps i oD OM

HOUSTON, TEXAS
FINDINGS OF FACT AND CONCLUSIONS OF LAW
A complaint was docketed by the Grievance Committee for State
Bar District No.04E, STATE Bar or Texas, against HAROLD V. DUTTON,
JR., Texas Bar Number 06293050, (hereinafter called "Respondent ")
a licensed attorney and member of the Stare BaR oF TEXAS, residing or
maintaining an office in Houston, Texas, Harris County, by
WILHEMINA LL. WILLIAMS, (hereinafter called “Complainant”), alleging
certain acts of professional misconduct on the part of the
Respondent which occurred in Harris County, Texas. A Panel of the
Committee has conducted a hearing on this complaint and having
considered all of the evidence submitted, has on June 24, 1999 made
the following findings of fact and conclusions of law:
I.
FINDINGS OF FACT
Respondent is an attorney licensed to practice law in Texas
and is a member of the STATE BaR oF TEXAS. |
The Chief Disciplinary Counsel of the Svare Bar or Texas has

incurred reasonable attorney fees and direct expenses associated

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 30 of 58

with the proceedings of this matter, which should be paid by
Respondent.

In or around June 1994, Complainant contacted Respondent to
obtain an accident report relating to her daughter’s fatal
accident. Complainant did not enter into a written contract with
Respondent and did not orally contract with Respondent to represent
her at that time. Thereafter, Respondent obtained $35,000.00 in
funds on the case and collected a 40% fee on that sum. The money
as for the Complainant’s mother’s insurance policy that she had on
Complainant’s deceased daughter.

During the representation, Respondent discussed information
about the case with people other than those privileged to such
information, thereby violating the attorney-client privilege.

on several occasions the Complainant requested a copy of her
file and received no response from Respondent. In January 1997,
Complainant received part of her file, but not the entire file as
requested. Thereafter, on or around February 25, 1997, Respondent
was terminated as Complainant’s counsel at which time Complainant
again requested her complete file. Respondent failed to provide
Complainant a copy of her file and failed to provide a copy to

Complainant’s new attorney.

Agreed Findings of Fact/Conclusieons of Law
HO059818327 Williams - Dutton .
G:\2DUTT327 JUD Page 2

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 31 of 58

Respondent’s authority to sign settlement checks was revoked
by Complainant in 1997. Thereafter, in March 1998, when Respondent
did not have authority to do so, he signed the Complainant's name
to settlement checks.

Respondent informed Complainant that the settlement funds
referenced above were wired to his account when, in fact, they were
not wired to Respondent’s account but Respondent deposited the
check in his account. Respondent was dishonest in his conduct with
Complainant.

A dispute arose over the accounting of the settlement funds.
Respondent did not separate the funds in dispute but rather took
his fee after it was disputed and charged for expenses after those
were disputed also. Respondent failed to render a full accounting
of the settlement funds to Complainant.

It.
CONCLUSIONS OF LAW

The foregoing findings of fact support a violation of Rule(s)
1.02(a) (1) for failing to abide by a client's decisions concerning
the objectives and general methods of representation; 1.04 (a) for
entering into a contingent fee agreement prohibited by paragraph

{e) or other law, and/or failing to enter into a written

Agreed Findings of Fact/Conclusions of Law
HOO59818327 Williams - Dutton
G:\2DUTT327.gUD Page 3

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 32 of 58

- contingency fee agreement that states the method by which the fee
is to be determined; 1.05(1)(I) for revealing confidential
information of a client or a former client to a person that the
client has instructed is not to receive the information;
1.05(1) (ii) for revealing confidential information of a client or
a former client to anyone else, other than the client, the client’s
representatives, or the members, associates, or employees of the
lawyer's law firm; 1.14(b) for failing, upon receiving funds or
other property in which a client or third person has an interest,.
to promptly notify the client or third person and render a full
accounting upon request; 1.14(¢) for failing to keep funds or other
property in which both the lawyer and another person claim
interests separate until there is an accounting and severance of
their interests; 1.15(da) for failing, upon termination of
representation, to reasonably protect a client's interests, give
notice to the client to seek other counsel, or surrender papers and
property which belongs to the client; and 8.04{a) (3) for engaging
in conduct involving dishonesty, fraud, deceit or
misrepresentation; of the Texas DISCIPLINARY RULES OF PROFESSIONAL CONDUCT,

Article X, Section 9, StaTE.Bar Runes, effective January 1, 1990.

Agreed Findings of Fact/Conclusions of Law
ROOS9818327 Williams - Dutton :
G:\2DUTT327 JUD Page 4

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 33 of 58

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GRIEVANCE COMMITTEE
DISTRICT NO. O4E

 

   

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Agreed Findings of Fact/Conclusions of Law
HOO59818327 Williams - Dutton
G:\2DUTT327.3UD . Page 5

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 34 of 58

Ww

 

In connection with the charges of professional misconduct
filed against me and heard by your Committee, I hereby acknowledge
the entry of Findings of Fact and Conclusions of Law.

SIGNED this Oy ‘day of Rw A ’
ITEC
OLD ¥. DUTTON; IR.

/ state Bar No. 06293050

 

 

 

 

 

 

 

STATE OF TEXAS x

x
COUNTY OF - x

BEFORE ME, the undersigned, a Notary Public in and for said
County and State, on this day personally appeared HAROLD V. DUTTON,
JR., known to me to be the person whose name is subscribed to the
foregoing instrument, and being by me. first duly sworn,
acknowledged to me that he executed same for the purposes and
considerations therein expressed.

GIVEN UNDER my hand and-,seal of office this 4 day

of CAR t 19 e Zé
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\ Bebe od Penca
Notary Public in and for the
State of Texas

215 6) fAQD2Q. | ene bn D, Cov RUCK

My ¢ommidsion expires Printed name of Notary

Agreed Findings of Fact/Conclusions of Law
H0059818327 Williams - Dutton
G:\2DUTT327 JUD . , Page 6

 
Case 4:00-me-54889-Document 2 Filed on 06/22/11 ngese ‘ee page
— oO . Ch ob VP
\9 UNITED STATES DISTRICT COURT
% FOR THE
SOUTHERN DISTRICT OF TEXAS

APPLICATION FOR ADMISSZON Feo) Ng 13740

*. Name: _ Harel\ V. Tadton at
Date and place of birth: 2)7)45 - Roost, Tx .
Firm Name: Way dy ; ilu Gand Sows °

Business Address: 965 Faun mM - Sue Sed
Mousha\ x 77610

Susiness Telephone 1%) 227-20 38}
3. Some address: —_ RAIB Cordon
7, ‘Yome telephone: Uy 674 S9/5

Are vou a member of the bar of any other United States District
Court?

 

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tes
‘

tn

1)

 

List all courts to which you have been admitted to practice with
dates of admissions:

 

 

 

Are vou a member in good Standing of the State RBar of Texas?

Un
10. State Bar Number: 0624 4050

Ll. Are vou a Board Certified Specialist? tr¢#
nature, and date of specialization: No

\o

SO, state place,

 

dave you ever been disciplined, disbarred, or resigned from the
bar of any court of the United States, the District of Columbia,
Or any state, territery commonwealth, or possession of the

United States?

im
ha

Give a full recitation of the date, the nature of the
disciplinary action, the place the action was brought, the
authority bringing the Gisciplinary action, the disposition
of it, and a certified copy of the judgment or court order
accepting vie consent or resignation, or Gisciplinary

action.

If so,

 

 

 
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vote etaleta te telecete ep hgada scat

on 06/22/11 in TXSD Page 36 of 58

 

Case #00-me-S4887-~Document 2 Filed (

Are vou a resident sractitioner in this District? No

if a resident cractitioner, what is your present office address
if Gifierenct from Item 4 above?

 

 

Attach a covv of

not mative torn, give date and place of naturalization:

IN i |

bar card or Certificate of Good Standing from

the State Bar of Texas showing admission to practice in the
State of Texas, ,

Attach a copy of a certificate or other evidence showing
admission to practice before any court(s) listed above.

dave you eve
crime", whic

x seen charced with or convicted of a “serious
& inctudes, but is not Limited to, any Felony and

aad

any lesser crime a necessary element of which, as determined by

the statutory or common law definition of such

crime in the

jurisdiction where the judgment was entered, involves moral

curpitude, lalse swearing,
failure to file income tax

misrepresentation, fraud, willful
returns, deceit, bribery, extortion,

misappropriation, theft or an attempt or a conspiracy or
solicitation of another to commit a “serious crime"? NO

 

Attach letters
District Court
their business

from two members of the Bar of the United States
Sor the Southern District of Texas, containing
address and telephone number, which state the

following in separate Daragraphs:

ae

b.

Applicant's name.

That the author is a member of the Bar of the United States.
District Court for the Southern District of Texas and his
Southern District of Texas federal identification’ number.

That the author is not related to the applicant.

That the author has personally known the applicant for at
least three months, or otherwise that the author knows the
applicant and his or her character well.

That the author has examined and reviewed the applicant's
Sworn questionnaire and all attachments and that the
answers therein are true and correct to the best of author's

belief and knowledge.

 
ren rere ee Sterne tye

Case H00-mMe-S4808- Document 2 Filed on 06/22/11 eee Page 37 of 58

at

fF. That the author relieves applicant rossesses ail
qualifications required for admission to the Bar
of this Court, and that applicant's private and
Professional character and standing are good.

20. I swear that I: Have become familiar with the Federal Rules
of Civil and Criminal Procedure ("Federal Rules") and the
Local Rules of the United States District Court For. the
Southern District of Texas ("Local Rules"); Have become
familiar with practice under those rules; and, have attended
Or will attend a course of instruction on the Federal Rules
and do attach (or will submit) evidence of this attendance,
The exception of the attendance provision to a course of
instruction and exemption from the [tem 21 Drovision is as

Follows:

a. Applicants who have reached the age of seventy -are
exempt irom mandatory attendance at the Admissions

Workshop.

Db. Applicants who reside or office outside the district
and are members in good standing of another United
States District Court are exempt from Workshop
attendance by furnishing a "Cartificate of Good

Standing" from the United States District Court of
membership.

21. I further acknowledge. that by signing this application for
admissions to practice before the Bar of this Court in the
Southern District of Texas, I will accept no more than one
Oro bono appointment within any 12 month period.

 

/rpplicant Pr
/- 27-92. |

Date

STATE OF Zé YAS
COUNTY OF $2218

by the aforesaid applicant, duly subscribed

The foregoing answers were,
and sworn to before me, the undersigned authority, this a day of
, L9 92 :

   

PIE OOLe! :
M. DARLAYNE GUERRANT

et
§ er RA aTaRrPlgtlG STATEGr one
Ble ig) MY COMMISSION Expres
: War’ NOV. 8, 1992

      

TOL
ounty, Texas

 

on

 

   

 

 

 
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HARDY, MILUTIN & JOHNS
ATTORNEYS AT LAW
500 TWO HOUSTON CENTER
909 FANNIN AT McKINNEY
HOUSTON, TEXAS 77010

G.P, HARDY, OI (713) 222-038
PARTNER

January 28, 1992

Mr. Jesse Clark
U. S. District Clerk
P. O. Box 61010
Houston, Texas 77208

RE: HAROLD V. DUTTON, JR.
Admission to the Bar of the
Southern District of Texas

Dear Mr. Clark:

Harold V. Dutton, Jr. is applying for admission to the Bar of
the Southern District of Texas.

I am a member in good standing of the Bar of the United States
District Court for the Southern District of Texas. My Federal
Identification Number is 6494. I am a resident of this district,
maintain my office in the State of Texas, and practice before the
United States District Court for the Southern District of Texas.

IT am not related to Harold V. Dutton, Jr. and have personally
know him for more than two years. I have examined and reviewed Mr.
Dutton's application and all of its attachments and believe the
answers therein are true to the best of my belief and knowledge.

I believe Mr. Dutton possesses all the qualifications required
for admission to the Bar of this Court and that he is competent to

practice before this Court. His private and professional character
and standing are good.

If any additional information is required; please do not
hesitate to contact me.

Very truly yours,

Arde?

G. P. Hardy, III

GPH: dg

 
_Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 39 of 58

é

JAMAIL & KOLIUS

ATTORNEYS AT LAW

3500 ONE ALLEN OENTER

JOSEPH D.FAMAIL DAHER JAMAIL

GUS KOLIUS 500 DALLAS STREET RANDALL A. HOPKINS

DAVID J. BEBOUT HOUSTON, TEXAS 77002-4703

JANET BVANS NAT B. KING
- 7. -

FRANK M. STAGGS,dR. {718} 661-3000 OOUNSEL

SUSAN ROEHM , FAX (718) 651-1957

January 28, 1992

RE: Harold V. Dutton, Jr.

Mr. Jesse Clark
U. &. District Clerk
P. QO. Box 61010
Houston, Texas 77208

Dear Mr. Clark:

I have recently learned of the application for admission to
the Bar of the Southern District of Texas filed by Harold V.
Dutton, Jr.

I am a member in good standing of the Bar of the United
States District Court for the Southern District of Texas. My
federal identification number is 1364. I ama resident of this
district, maintain my office in the State of Texas, and practice
before the United States District Court for the Southern District
of Texas. -

I am not related to Harold V. Dutton, Jr., and have
personally known him for more than two years. I. have examined
and reviewed Mr. Dutton's application, with attachments and
believe the answers therein are true to the best of my knowledge
and belief..

I believe Mr. Dutton possesses ali the qualifications
required for admission to the Bar of this Court and believe he is
competent to practice before this Court. His private and
professional character and standing are good.

If any additional information is required, please do not
hesitate to contact me.

Very truly yours,

JIJ:dd

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

}
).
)

OATH

I do solemnly swear (or affirm) that I will discharge
the duties of an attorney and counselor of this Court
faithfully; that I will demean myself uprightly and

according to the law and the recognized standards of
ethics of the profession; and that I will support and
defend the Constitution of the United States. So help

 

me God.
DATED this 20th day of March , 19:92

 

 

 

 

Stdned - /

HAROLD V. DUTTON, JR.
Name

4432 Rawley
Address

OATH ADMINISTERED Houston, TX 77020

Za.

- iy
CRENNETH M. HOYT.
UNITED STATES DISTRICT JUDGE

 

 

     

southern District of Texas

 
‘Case 4:00-mc-54889 Document 2. Filed on 06/22/11 in TXSD Page 42 of 58

 

UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF TEXAS

 

RENEWAL QUESTIONNAIRE FOR ADMISSION TO PRACTICE

1. ‘Name: Haro d V, Dutton wy.
2 Fim LOW De of Navel Varn dv.

3. _ Firm Address: _|O 10. Lama v, Suite, LAM

 

 

 

Houston” lexas 77002,

nited States Dist
Gaited St District ore"

4. County: Hams Coummtu “Texan a
5. Business Telephone: (7 19) SLE OYS4. |

6. Business Facsimile: (7]3) 734 -| 032

7. State Bar of Texas Number: DOLTSOS 0

8. Social Security Number: A4A5|- 72-O454  ___

9. Certifications: | NAR

Michael N. Milby, Clerk of Cour

10. If after your admission to the bar of this court you have been (a) disciplined
by a bar or a court or (b) charged with or convicted of a serious crime as
defined in Rule 2.A. of the Rules of Discipline, on a separate page please
describe in full and attach a certified copy of the final action.

[= 31-47 “Chaat

Date Signature of Applic ae

SOTX AA-2 (11/96)

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 43 of 58

Law Office of
HAROLD V, DUTTON, JR.

Attorney At Law
1000 The Houston Building
2323 Caroline
Houston, Texas 77004

. DUTTON, JR. (713) 659-5998/Telephone
HAROLD ¥, DU J (713) 659-2812/Facsimile

Member, Texas House of Representatives

May 8 2002

Via CVURRR # 7001 2510 0001 7638 0962
and Regular U.S. Mail

Marthe Welu

Operatjons Manager

United States District Court

P.O. Box 61010

Houston, Texas 77208

Re: Certificate of Good Standing—Harold V. Dutton, Jr.
Dear Ms. Welu:

As reqliested in your letter dated April 22, 2002, I have enclosed the Original of the
Certifizate of Good Standing from the State Bar of Texas,

Thank you for your assistance and cooperation, However, if you desire further
inforr#tion, please advise.

 

Enclosure
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 44 of 58

STATE BAR OF TEXAS

  
  

Se BAR OF

 
   

 

Office of The Chief Disciplinary Counsel

May 7, 2002

Re: HAROLD V. DUTTON JR;
State Bar Number- 06293050

To Whom It May Concern:

This is to certify that HAROLD V. DUTTON JR. was licensed to practice law in Texas on
November 1, 1991 and is an active member in good standing with the State Bar of Texas.

"Good standing" means that the attorney is current on payment of Bar dues and
attorney occupation tax; has met Minimum Continuing Legal Education requirements; and
is not presently under either administrative or disciplinary suspension.

No disciplinary action involving professional misconduct has been taken against the
attorney's law license. This certification expires 30 days from this date, unless sooner revoked
or rendered invalid by operation of rule or law,

 

Dawn Miller
Chief Disciplinary Counsel

DM/dtt

 

PLO. Box 12487, Capitel Station, Austin, Texas 78711-2487, (512)463-1463

 
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UNITED STATES DISTRICT COURT 7

SOUTHERN DISTRICT OF TEXAS
P.O. BOX 61010
HOUSTON, TEXAS 77208
MICHAEL N. MILBY ww. txs,uscourts.gov
CLERK OF COURT 713-250-5371

April 22, 2002

Harold V. Dutton, Jr.

Attorney at Law

2323 Caroline

Houston, TX 77004

Dear Mr. Dutton:

Your application has been referred to the Committee on Admissions.

You will need to provide a current Certification of Good Standing from the State Bar of Texas.

If the requested documentation is not received within 30 days, your application will be considered
withdrawn.

After the committee has acted on your application, you will be notified of it’s findings.

If you have any questions regarding this matter, please feel free to contact me.

MICHAEL N. MILBY, Clerk

Martha Welu
Operations Manager

 
Case 4:00-mc-54889 Document 2 Filed 6n 06/22/11 in TXSD Page 46 of 58

Attorney Admissions
Cover Sheet for Judicial Review

APPLICANT: SY Arolp VV. dle DAL, TR.

Cl Lives out of this district.
C] Requests 4 waiver of the admissions workshop requirement,

a Requests permission to substitute a nonresident attorney reference.

C} Requests that the aoplication be 4 renewal of membership.
Membershio Expired Last Address Update

(” Discloses a disciplinary action.

Ce oOthes |

 

 

Rieamerks:

 

References are:

 

 

Clresident members i nan-resident members
Ci non-members - membership nas been verified with the District of
Remarks:
REALY
Cladmitted Cl Denied Refer ta Cammittes on Admissions
Remarks:

 

 

 

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Dae CY united Staiss District udas

 
Case 4:00-mc-54889 Document 2 Filed on 06/22/11 in TXSD Page 47 of 58

Law Office of

HAROLD V. DUTTON, JR.
Attorney At Law
1000 The Houston Building
2323 Caroline
Houston, Texas 77004
HAROLD V. DUTTON, JR. . ) 659-5998/Telephone
Member, Texas House of Representatives Michael N. WN Chis D/FNcsimnile
, RECEIVED

February 15, 2002

Attorney Admissions FEB & 0 209?

United States District Court Southern District of Texes

UTAETN LSTICL OF 1 OXes
P.O. Box 61010 Houston, Texas

Houston, Texas 77208-1010

Re: Admission Renewal-Harold V. Dutton, Jr.
Fed.LD. No. 13940/SBOT No, 06293050

Dear Admissions Clerk:

Please find enclosed the completed renewal questionnaire for the Attorney Harold V.
Dutton, Jr. ] have also enclosed a certified copy of the final action of the only discipline
by the State Bar of Texas that I received after my admission to practice in the Southern
District. I would respectfully request an opportunity to provide further details on the
extenuating circumstances surrounding this final action discipline, particularly before any
consideration based upon the discipline is made.

Thank you for your assistance and cooperation.

 

attorney admission/soudist

 
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UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF TEXAS

 

RENEWAL QUESTIONNAIRE FOR ADMISSION TO PRACTICE

1 Name: TAQWONA VY Dakkon, Ov.
> vim: Mavs Ore oi-Hawol V. Dats
s. VimAdiress; 2323 Cavolme
House. VX 7A04
4, Coty: “WOYVIS Coowly Te xes
s. Business Telephone: 77 3- GSGF- F44B
6. Business Facsimile: ZL! 2— 659-XBIZ
1. State Bar of Texas Number: _O624FADGO
8. Board Certifications: Nove

 

9, If after your admission to the bar of this court you have been (a) disciplined by a
bar or a court or (b) charged with or convicted of a serious crime as defined in
Rule 2.A. of the Rules of Discipline, on a separate page please describe in full and

attach a certified copy of the fipal action.

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SDTX AA-2 (01/00)

 
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BEFORE THE GRIEVANCE COMMITTEE FOR STATE BAR
DISTRICT NO. O4E, THE STATE BAR OF TEXAS

COMPLAINT AGAINST x
x
HAROLD V. DUTTON, JR. x NO. H0059818327
x
HOUSTON, TEXAS Xx
EED TE PR

A complaint was docketed by the Grievance Committee for State
Bar District No. 04E, State Bar of Texas, against HAROLD V. DUTTON,
JR., Texas Bar Number 06293050, (hereinafter called "Respondent")
a licensed attorney and member of the STATE BAR OF TEXAS, residing or
maintaining an office in Houston, Harris County, Texas, by
Wilhemina L. Williams, as Complainant, alleging certain acts of
professional misconduct on the part of the Respondent which
occurred in Harris County, Texas,

The Grievance Committee and the Respondent lawyer have signed
Findings of Facts and Conclusions of Law on file herein, and said
findings and conclusions support a Judgment of Private Reprimand
herein, and by reasons of said findings and conclusions the
Committee is of the opinion that Respondent is guilty of
professional misconduct and should be reprimanded.

It is AGREED and ORDERED that Respondent shall pay Two

Thousand Three Hundred Thirty Four Dollars and Fifty Cents

 
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($2,334.50)in restitution to Wilhemina Williams on or before August
31, 1999. For monitoring purposes, this restitution should be made
payable to Wilhemina Williams and should be mailed to the attention
of Tammye S. Curtis Jones, Office of the General Counsel, State Bar
of Texas, 1111 Fannin, Suite 1370, Houston, Texas, 77002. This
payment should be made via certified or cashier’s check.

It is further AGREED and ORDERED that Respondent shall pay One
Thousand and No/100 Dollars ($1000.00) in attorneys’ fees to the
State Bar of Texas on or before August 31, 1999. This payment
should be mailed to Tammye S. Curtis-Jones, Office of the General
Counsel, State Bar of Texas, 1111 Fannin, Suite 1370, Houston,
Texas, 77002. This payment should be made via certified or
cashier's check.

All attorneys’ fees, costs, and restitution amounts ordered
herein are due to the misconduct of the attorney and are assessed
as a part of the sanction in accordance with Rule 1.06(t) of the
Texas Rules of Disciplinary Procedure. Interest shall accrue on
the attorneys’ fees and court costs from the date the attorneys’
fees and court costs are due at the rate of ten percent (10%) per

annum until paid.

Agreed Judgment of Private Reprimand
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Respondent consents to the rendition and entry of this
Judgment and having his acknowledgment te the Findings of Fact and
Conclusions of Law taken in accordance with the provision of the
STATE BAR RULES.

This reprimand shall remain confidential as to the identity
of the reprimanded attorney except that, in accordance with the
TEXAS RULES OF DISCIPLINARY PROCEDURE copies of this reprimand shall be
forwarded to the General Counsel of the SrvaTe BaR or Texas.

Respondent further AGREES that this Judgment may be made
public for purposes of enforcement or contempt should Respondent

fail or refuse to comply with any terms or conditions as stated
herein.
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SIGNED this Ie “_ day of ae , 19 fo7,
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GRIEVANCE COMMITTEE
DISTRICT NO. O04E

 
   

Phillip’R. Livi
Chairperson

Agreed Judgment of Private Reprimand
HO059818327 Williams - Dutton
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In connection with the charges of professional misconduct
filed against me and heard by your Committee, I hereby consent to
entry of Judgment.

SIGNED this Oy day of KOU) , 19
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STATE OF TEXAS x
x
COUNTY OF K\IGNYWYS x

BEFORE ME, the undersigned, a Notary Public in and for said
County and State, on this day personally appeared HAROLD V. DUTTON,
JR., known to me to be the person whose name is subscribed to the
foregoing instrument, and being by me first duly sworn,
acknowledged to me that the same was executed for the purposes and
considerations therein expressed,

A GIVEN UNDER my hand and seal of office this OX a day of
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QO bie i), SHoanin,

Notary Public in and for
the State of Texas

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My Cémmisdion Expires Printed Name of Notary

Agreed Judgment of Private Reprimand
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BEFORE THE GRIEVANCE COMMITTEE FOR THE STATE BAR
DISTRICT NO.04E, THE STATE BAR OF TEXAS

COMPLAINT AGAINST

HAROLD V. DUTTON, OUR. NO. H0059818327

Pa Pd pe Pe OPS

HOUSTON, TEXAS

FINDINGS OF FACT AND CONCLUSIONS OF LAW

A complaint was docketed by the Grievance Committee for State
Bar District No.04E, State Bar or Texas, against HAROLD V. DUTTON,
JR., Texas Bar Number 06293050, (hereinafter called "Respondent")
a licensed attorney and member of the Stare Bar of Texas, residing or
maintaining an office in Houston, Texas, Harris County, by
WILHEMINA L. WILLIAMS, (hereinafter called “Complainant”), alleging
certain acts of professional misconduct on the part of the
Respondent which occurred in Harris County, Texas. A Panel of the
Committee has conducted a hearing on this complaint and having
considered all of the evidence submitted, has on June 24, 1999 made
the following findings of fact and conclusions of law:

I.
FINDINGS OF FACT

Respondent is an attorney licensed to practice law in Texas
and is a member of the State BAR oF TEXAS.

The Chief Disciplinary Counsel of the STATE Bar oF Texas has

incurred reasonable attorney fees and direct expenses associated

 
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with the proceedings of this matter, which should be paid by
Respondent.

In or around June 1994, Complainant contacted Respondent to
obtain an accident report relating to her daughter’s fatal
accident. Complainant did not enter into a written contract with
Respondent and did not orally contract with Respondent to represent
her at that time. Thereafter, Respondent obtained $35,000.00 in
funds on the case and collected a 40% fee on that sum. The money
as for the Complainant's mother’s insurance policy that she had on
Complainant's deceased daughter.

During the representation, Respondent discussed information
about the case with people other than those privileged to such
information, thereby violating the attorney-client privilege.

On several occasions the Complainant requested a copy of her
file and received no response from Respondent. In January 1997,
Complainant received part of her file, but not the entire file as
requested. Thereafter, on or around February 25, 1997, Respondent
was terminated as Complainant's counsel at which time Complainant
again requested her complete file. Respondent failed to provide
Complainant a copy of her file and failed to provide a copy to

Complainant’s new attorney.

Agreed Findings of Fact/Conclusions of Law
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Respondent’s authority to sign settlement checks was revoked
by Complainant in 1997. Thereafter, in March 1998, when Respondent
did not have authority to do so, he signed the Complainant’s name
to settlement checks.

Respondent informed Complainant that the settlement funds
referenced above were wired to his account when, in fact, they were
not wired to Respondent's account but Respondent deposited the
check in his account. Respondent was dishonest in his conduct with
Complainant.

A dispute arose over the accounting of the settlement funds.
Respondent did not separate the funds in dispute but rather took
his fee after it was disputed and charged for expenses after those
were disputed also. Respondent failed to render a full accounting
of the settlement funds to Complainant.

il.
CONCLUSIONS OF LAW

The foregoing findings of fact support a violation of Rule (s)
1.02(a) (1) for failing to abide by a client's decisions concerning
the objectives and general methods of representation; 1.04(d) for
entering into a contingent fee agreement prohibited by paragraph

(e) or other law, and/or failing to enter into a written

Agreed Findings of Fact/Conclusions of Law
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contingency fee agreement that states the method by which the fee
is to be determined; 1.05(1)(r) for revealing confidential
information of a client or a former client to a person that the
client has instructed is not to receive the information;
1.05(1) (ii) for revealing confidential information of a client or
a former client to anyone else, other than the client, the client’s
representatives, or the members, associates, or employees of the
lawyer's law firm; 1.14(b) for failing, upon receiving funds or
other property in which a client or third person has an interest,
to promptly notify the client or third person and render a full
accounting upon request; 1.14(c) for failing to keep funds or other
property in which both the lawyer and another person claim
interests separate until there is an accounting and severance of
their interests; 1.15(d) for failing, upon termination of
representation, to reasonably protect a client's interests, give
notice to the client to seek other counsel, or surrender papers and
property which belongs to the client; and 8.04(a) (3) for engaging
in conduct involving dishonesty, fraud, deceit or
misrepresentation; of the Texas DISCIPLINARY RULES OF PROFESSIONAL CONDUCT,

Article X, Section 9, STATE.BAR Runes, effective January 1, 1990.

Agreed Findings of Fact/Conclusions of Law
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SIGNED this _[7%5 # day of Arta’ a , 19 7

GRIEVANCE COMMITTEE
DISTRICT NO. O4E

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Agreed Findings of Pact/Conclusions of Law
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In connection with the charges of professional misconduct
filed against me and heard by your Committee, I hereby acknowledge
the entry of Findings of Fact and Conclusions of Law.

SIGNED this Oty day of By Wd

LIA
/ Rou . DULTTONS JR.

State Bar No. 06293050

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STATE OF TEXAS

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x
COUNTY OF . x

BEFORE ME, the undersigned, a Notary Public in and for said
County and State, on this day personally appeared HAROLD V. DUTTON,
JR., known to me to be the person whose name is subscribed to the
foregoing instrument, and being by me first duly sworn,
acknowledged to me that he executed same for the purposes and
considerations therein expressed.

GIVEN UNDER my hand and seal of office this LA Qy day
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~ Bret od Pieren
Notary Public in and for the
State of Texas
3) G/2aQa_ Zencba —D. Garner
My éommigsion expires Printed name of Notary

Agreed Findings of Fact/Conclusions of Law
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